                 Case 24-11751-LMI       Doc 26    Filed 05/21/24   Page 1 of 1


                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA

 In re:    Hector Roque                                        Case No.: 24-11751-LMI
                                                               Chapter 13
                        Debtor(s)              /

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Objection to Claim of Matrix
Financial Services Corporation c/o Sokolof Remtulla, PLLC and Notice of Hearing was sent to all
parties on the attached service list on May 21, 2024.

Electronically & Mailed: Nancy K. Neidich, Trustee PO Box 279806
Hollywood, FL 33027

First Class Mail:

 Debtor(s), Hector Roque,
 17067 NW 56TH CT
 Opa Locka, FL 33055

Sokolof Remtulla, PLLC
c/o Benjamin Ladouceur, Attorney Creditor
7087 Grand National Drive, Suite 102
Orlando FL 32819

Matrix Financial Services Corporation
C/O CORPORATION SERVICE COMPANY,
8825 N 23rd Avenue,Suite 100,
PHOENIX, AZ 85021

Matrix Financial Services Corporation
c/o Harjot Singh – CEO,
2133 West Peoria
Phoenix, AZ 85029


 Respectfully submitted:                  Jose A. Blanco, P.A.
 May 21, 2024                             By: /s/ Jose A. Blanco | FBN: 062449
                                          Attorney for Debtor(s)
                                          102 E 49th ST
                                          Hialeah, FL 33013,
                                          Tel. (305) 349-3463
                                          E-mail: jose@blancopa.com




LF-70 (rev. 12/01/09)
